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1                                                                          The Honorable John H. Chun

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7                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
8                                         AT SEATTLE

9                                                             No. 2:23-cv-0932-JHC
     FEDERAL TRADE COMMISSION,
10                                                            PLAINTIFF’S MOTION FOR LEAVE
               Plaintiff,                                     TO FILE RESPONSE TO
11                                                            DEFENDANTS’ NOTICE OF
          v.                                                  SUPPLEMENTAL AUTHORITY
12                                                            RELATING TO DEFENDANTS’
     AMAZON.COM, INC., et al.,                                MOTIONS TO DISMISS
13
               Defendants.                                    NOTE ON MOTION CALENDAR:
14                                                            Friday, March 22, 2024

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               Plaintiff Federal Trade Commission (“FTC”) respectfully requests leave to file the
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     attached proposed Response (the “Response”) to Defendants’ Notice of Supplemental Authority
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     (Dkt. #149; the “Notice”). In support of its motion, the FTC states as follows:
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               1.     On March 1, 2024, Defendants filed the Notice, which described and attached
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     Judge Martinez’s decision granting in part and denying in part Amazon’s motion to dismiss in
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     Daly, et al. v. Amazon.com, Inc., et al., No. 22-cv-00910-RAJ (W.D. Wash.).
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               2.     Local Civil Rule 7(n) permits the filing of notices of supplemental authority, but
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     neither permits nor prohibits the filing of responses to such notices. Whether to permit the FTC
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     PLAINTIFF’S MOTION FOR LEAVE TO RESPOND                                      Federal Trade Commission
     TO NOTICE OF SUPPLEMENTAL AUTHORITY                                      600 Pennsylvania Avenue N.W.
     Case No. 2:23-cv-0932-JHC                                                       Washington, DC 20580
                                                       1                                     (202) 326-3320
               Case 2:23-cv-00932-JHC Document 151 Filed 03/04/24 Page 2 of 3




1    to file its Response is therefore a matter committed to the Court’s “sound discretion.” See, e.g.,

2    C&R Forestry, Inc. v. Consol. Hum. Res., AZ, Inc., 2007 WL 914198, at *3 (D. Idaho Mar. 23,

3    2007) (“A decision to grant or deny a party’s motion to supplement their briefings is committed

4    to the sound discretion of the court.”) (citing SEC v. Seaboard Corp., 677 F.2d 1301, 1314 (9th

5    Cir. 1982)).

6             3.     Here, permitting the Response’s filing is appropriate because the Response is

7    necessary to address two material omissions in Defendants’ Notice. Specifically, as described in

8    more detail in the attached Response, Defendants’ Notice omits that (1) Judge Martinez allowed

9    the Daly plaintiffs’ state-law challenges to Amazon cancellation practices (across multiple

10   subscription services, including Prime) to proceed (Dkt. #149 at 19-20), and (2) that what

11   Defendants label the “challenged Amazon Prime enrollment process” (Dkt. #149 at 1)—which

12   Judge Martinez found not to violate to the Oregon and Washington auto-renewal laws—was the

13   enrollment process challenged in Daly, which is different from the enrollment processes

14   challenged by the FTC.

15                               LOCAL RULE 7(e) CERTIFICATION
              I certify that this memorandum contains 283 words, in compliance with the Local Civil
16
     Rules.
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     PLAINTIFF’S MOTION FOR LEAVE TO RESPOND                                     Federal Trade Commission
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                                                      2                                     (202) 326-3320
             Case 2:23-cv-00932-JHC Document 151 Filed 03/04/24 Page 3 of 3




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     Dated: March 4, 2024                 /s/ Evan Mendelson
2                                         EVAN MENDELSON (DC Bar #996765)
                                          OLIVIA JERJIAN (DC Bar #1034299)
3                                         THOMAS MAXWELL NARDINI
                                          (IL Bar # 6330190)
4                                         Federal Trade Commission
                                          600 Pennsylvania Avenue NW
5                                         Washington DC 20580
                                          (202) 326-3320; emendelson@ftc.gov (Mendelson)
6                                         (202) 326-2749; ojerjian@ftc.gov (Jerjian)
                                          (202) 326-2812; tnardini@ftc.gov (Nardini)
7

8                                         COLIN D. A. MACDONALD (WSBA # 55243)
                                          Federal Trade Commission
9                                         915 Second Ave., Suite 2896
                                          Seattle, WA 98174
10                                        (206) 220-4474; cmacdonald@ftc.gov (MacDonald)

11                                        Attorneys for Plaintiff
                                          FEDERAL TRADE COMMISSION
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     PLAINTIFF’S MOTION FOR LEAVE TO RESPOND                        Federal Trade Commission
     TO NOTICE OF SUPPLEMENTAL AUTHORITY                        600 Pennsylvania Avenue N.W.
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